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                         IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MINNESOTA


 JENNIFER L.M. LEMAY, et al,

                                Plaintiffs,             Civil No. 19-2463 (JRT/KMM)

           v.
                                                                    ORDER
 MICHAEL B. MAYS, et al

           Defendants.


      Devon M Jacob, JACOB LITIGATION, P.O. Box 837, Mechanicsburg, PA
      17055-0837, for plaintiffs.

      Kristin R. Sarff, MINNEAPOLIS CITY ATTORNEY'S OFFICE, 350 South 5th
      Street, Room 210, Minneapolis, MN 55415, for defendants.

      The parties filed a Stipulation of Partial Dismissal (Docket No. 80) on October 16,

2020. Based on the stipulation, IT IS HEREBY ORDERED that Count I (Fourth and

Fourteenth Amendment – Unlawful Search of Property), and Count III (Municipal

Liability) as it relates to Count I, of the Amended Complaint (Doc. 29), are DISMISSED.



DATED: November 12, 2020
at Minneapolis, Minnesota.
                                          s/John R. Tunheim__________
                                          JOHN R. TUNHEIM
                                          Chief Judge
                                          United States District Court
